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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                        Criminal No. 21-093 (JRT/TNL)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                    GOVERNMENT’S POSITION
       v.
                                                    ON SENTENCING
 ROBBIN ALLEN THOMAS,

                     Defendant.



      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Ruth Shnider and Alexander

Chiquoine, Assistant United States Attorneys, hereby respectfully submits its position on

sentencing with regard to Defendant Robbin Thomas. For the reasons set forth below, the

Government submits that the appropriate sentence is 180 months.

              BACKGROUND & PRESENTENCE INVESTIGATION

      On July 18, 2022, Mr. Thomas pleaded guilty to one count of possession with intent

to distribute methamphetamine, in violation of 21 U.S.C. §§ 841(b)(1)(A). The charge in

the indictment arises from an incident that took place in Anoka County, Minnesota, on

February 19, 2021. (See generally PSR ¶¶ 7-8; R&R at 3-16, ECF No. 130). Mr. Thomas

was driving a vehicle near his residence in Ham Lake when he was stopped by Anoka

County Sherriff’s Deputy Nate Arcand for driving without a license. Mr. Thomas was the

sole occupant of the vehicle, and he told Deputy Arcand the vehicle belonged to him. Mr.

Thomas was behaving erratically and attempting to keep the deputy from going near the
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vehicle. Deputy Arcand smelled marijuana and ultimately located a bag of marijuana on

the ground that Mr. Thomas had just dropped. The deputy proceeded to search the vehicle

and immediately found a loaded, stolen handgun tucked next to driver’s seat. The deputy

also located over a pound of methamphetamine and a .40 caliber magazine in a bag on the

front passenger seat, and another six pounds of meth in a bag in the back seat.

       Mr. Thomas’ nearby Ham Lake residence was also searched, and in his bedroom,

officers found an additional pound of methamphetamine and a box of .223 caliber

ammunition. The packaging on the drugs found in both the vehicle and the bedroom were

later DNA tested, recovering a major male profile that matched Mr. Thomas. In Miranda

interviews after his arrest, Mr. Thomas made various statements acknowledging that he

was involved in the drug trade.

       For investigative reasons, Mr. Thomas was not immediately charged in Anoka

County and was released from custody. But rather than take this opportunity to stay on the

straight and narrow, Mr. Thomas did the opposite. Only two weeks later, on March 5,

2021, he was stopped again in Wright County in a vehicle (with one other occupant) that

was found to contain approximately three pounds of meth in the trunk. Over $6,000 in

cash was seized from Mr. Thomas’ person. (PSR ¶ 9).

       In his plea agreement, Mr. Thomas has agreed that he knowingly possessed with the

intent to distribute all the meth seized from his vehicle and bedroom on February 19, 2021,

and the meth seized from his trunk on March 5, 2021. (ECF No. 136 at 2-3)

       Mr. Thomas was charged in Wright County with the March 5, 2021, offense and

bailed out after a few days. He then absconded. Mr. Thomas did not show up for a
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scheduled hearing in Wright County on April 22, 2021. See Register of Actions, Case No.

86-CR-21-1035 (Wright County); (PSR ¶ 53). He was federally indicted for the Anoka

incident on April 15, 2021, and because investigators could not determine his whereabouts,

the case was turned over to the U.S. Marshals Service (USMS) as a fugitive file.

       On or about May 24, 2021, USMS was alerted by officers in Stearns County that

Mr. Thomas and two other persons had been stopped near Sauk Centre in a vehicle that

contained distributable amounts of meth and heroin, along with a loaded handgun. (See

PSR ¶ 10). Mr. Thomas provided officers with a false name, and it took them nearly 12

hours to identify him, which they only were able to do when a friend called the station

looking for him. The investigators then discovered the pending warrants out of Wright

County and this Court, and Mr. Thomas was brought into federal custody.

       The United States has reviewed the Presentence Investigation Report (“PSR”)

prepared by the U.S. Probation Office and has no outstanding objections to the recitation

of the offense conduct set forth therein. (See PSR ¶¶ 6-11). The Government also does

not object to its findings that Mr. Thomas has a total offense level of 35, a Category I

criminal history, and a Guidelines range of 160 to 210 months’ imprisonment. (PSR ¶ 83).

The statutory mandatory minimum sentence is 120 months. (PSR ¶ 82).

       As summarized in the PSR, Mr. Thomas has an extensive criminal history – but it

consists largely of convictions he incurred many years ago that did not receive criminal

history points for under the Guidelines. He has past felony convictions for attempted

robbery (PSR ¶ 31); unlawful gun possession (PSR ¶ 32); drug possession (PSR ¶ 36); and

a federal counterfeiting offense (PSR ¶ 37).
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                          DEFENDANT’S PSR OBJECTION

       Mr. Thomas has objected to the 2-level firearm enhancement under U.S.S.G. §

2D1.1(b)(1). He does not object to any particular facts in the PSR, but simply disputes that

they show he was in possession of the gun that was found next to his driver’s seat. (ECF

No. 145 at 1). In Mr. Thomas’ plea agreement, the parties agreed that the Court may

consider the record established at the pretrial motions hearing in resolving this dispute.

(ECF No. 136 at 6). The Government thus relies here on the transcript of the hearing filed

at ECF No. 102 (in particular, the testimony of Deputy Arcand; hereinafter “Tr.”), as well

as the previously submitted Government’s Exhibit 2, which contains Deputy Arcand’s

body camera footage of the February 19, 2021, traffic stop. The Government does not

believe any further testimonial/evidentiary hearing is necessary.

       U.S.S.G § 2D1.1(b)(1) provides a 2-level upward enhancement “[i]f a dangerous

weapon (including a firearm) was possessed.” “The burden lies on the government to prove

by a preponderance of the evidence both that the weapon was present and that it is at least

probable that the weapon was connected with the offense.” United States v. Payne, 81 F.3d

759, 762 (8th Cir. 1996).      The Application Note to the Guideline directs that the

“enhancement for weapon possession . . . reflects the increased danger of violence when

drug traffickers possess weapons. The enhancement should be applied if the weapon was

present, unless it is clearly improbable that the weapon was connected with the offense.”

Id., Application Note 11(A) (emphasis added).

       This “clearly improbable” standard is “a very low bar.” United States v. Ashburn,

865 F.3d 997, 999 (8th Cir. 2017). This reduced standard of proof “supports the goals of
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the enhancement” by “discourag[ing] drug criminals from bringing weapons anywhere

near their drugs.” United States v. Anderson, 618 F.3d 873, 880 (8th Cir. 2010). “The

government need not show that the defendant used or even touched a weapon to prove a

connection between the weapon and the offense.” United States v. Peroceski, 520 F.3d

886, 889 (8th Cir. 2008) (emphasis added) (quoting United States v. Fladten, 230 F.3d

1083, 1086 (8th Cir. 2000) (per curiam)). Rather, “‘[e]vidence that the weapon was found

in the same location as drugs or drug paraphernalia usually suffices.’” Id. As the Eighth

Circuit explained, the “well-known tendency of drug criminals to use firearms in

connection with their drug activities supports an inference that a gun near the vicinity of

drug activity is somehow connected to it.” Id.

       Finally, while the Government bears the burden of demonstrating a weapon was

present and was probably connected with the drug offense, “‘[l]ack of proof of use or actual

possession’ does not preclude a § 2D1.1(b)(1) adjustment; constructive possession is

sufficient.” United States v. Atkins, 250 F.3d 1203, 1213-14 (8th Cir. 2001) (quoting United

States v. McCracken, 110 F.3d 535, 541 (8th Cir.1997)). Moreover, “ownership of either

the weapon or the premises upon which the weapon is found is not required.” Atkins, 250

F.3d 1203, 1213–14 (quoting Payne, 81 F.3d at 762). The Government need only establish

that “a temporal and spa[t]ial relation existed between the weapon, the [offense], and the

defendant.” Id. at 1214.

       Here, these standards have clearly been met by a preponderance of the evidence. To

begin, it appears undisputed that the vehicle at issue in the February 19 traffic stop belonged

to Mr. Thomas, and he was the driver and sole occupant when he was stopped. As reflected
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on the BWC footage of the stop, Mr. Thomas told the deputy that he had purchased the

vehicle the day prior, produced a title for it, and said he was working on getting the title

formally transferred to his name. (Gov. Ex. 2 at 01:30-2:45, 07:30-08:25; see also Tr. at

62, 68).

       As Deputy Arcand testified, once he began searching the vehicle, he almost

immediately found a handgun holster in the center console, and then observed the firearm

“tucked . . . between the driver’s seat and the center console.” (Tr. at 75-76). Deputy

Arcand’s BWC footage shows, starting around minute 13:00, how quickly he observed the

firearm once he stuck his head over the driver’s seat. It is simply impossible to believe that

Mr. Thomas was not aware the firearm was present, in a vehicle he owned and was driving.

What’s more, Mr. Thomas has accepted responsibility for the pound of meth found in a

bag on the front seat—a bag that also contained a loaded .40 caliber magazine (PSR ¶ 7;

Tr. at 77)—and he has accepted responsibility for the pound of meth found in his

bedroom—where officers also located a box of .223 ammunition (PSR ¶ 8). That gun-

related items were found in multiple locations associated with Mr. Thomas and his drug

supply surely suffices to show, by at least a preponderance of the evidence, that “a temporal

and spatial relation existed between the weapon, the offense, and the defendant.” See

Atkins, 250 F.3d at 1214.

       The Government acknowledges that the issue of Mr. Thomas’ possession of the gun

does not only implicate the Guidelines, but also disqualifies him from safety valve

eligibility. Under 18 U.S.C. § 3553(f)(2), a defendant is not eligible for safety valve relief

if he “possess[ed] a firearm or other dangerous weapon . . . in connection with the offense.”
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This of course makes good sense, since a person, like Mr. Thomas, who traffics drugs in

the presence of firearms has a higher culpability. And there is no undue harshness here for

Mr. Thomas; he is not the prototypical safety valve candidate who has very little criminal

history. He in fact has a fairly extensive criminal history; most of it simply falls outside

the time period captured by the Guidelines scoring system. And given the string of events

in 2021—where Mr. Thomas was caught with a large quantity of meth and a gun on

February 19, got out of custody, was caught with more meth on March 5, got out of custody,

and then absconded until he was found in car with more drugs and another gun on May

24—it seems clear that the charged incident was far from an aberration.

                           THE APPROPRIATE SENTENCE

       The remaining issue before the Court is what constitutes a reasonable sentence in

light of the factors enumerated in Title 18, United States Code, Section 3553(a). Based on

a balancing of the issues set forth below, the Government believes a total sentence of 180

months is sufficient but not greater than necessary to achieve justice in this case.

       Even looking only at the facts underlying the indictment, Mr. Thomas is a highly

culpable defendant. He was trafficking large quantities of methamphetamine and was

doing so while armed—all to turn a profit for himself. Mr. Thomas knows from his own

experience with drug abuse the harm that this poison causes to his community. He also

was no stranger to the criminal justice system. And still, Mr. Thomas believed himself to

be above the law. Indeed, the video of the February 19, 2021 traffic stop exemplifies Mr.

Thomas’ indignant reaction to facing consequences for his actions: he becomes belligerent



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toward the deputy and screams obscenities, claiming to be the victim of “harassment.”

(See, e.g., Gov. Ex. 1 at 25:00-31:00; Gov. Ex. 2 at 26:15-28:00).

       Mr. Thomas’ culpability is further aggravated by the broader context. This was far

from an isolated lapse in judgment. As the events of 2021 show, Mr. Thomas was

repeatedly released from custody and given the opportunity to reform himself. He instead

chose to thumb his nose at law enforcement, keep trafficking drugs, miss court

appearances, and attempt to abscond. He made these choices notwithstanding having

served several terms of imprisonment in the past—including a federal sentence of 30

months. (PSR ¶ 39). A much more serious sentence in this case is both necessary and

appropriate.

       Although the Government cannot attest to the veracity of all the information in the

PSR concerning Mr. Thomas’ biography, what is clear is that Mr. Thomas does not seem

to place much accountability on himself for his repeated turns to criminal activity. Other

members of his family, meanwhile, have had stable, law-abiding professions—from social

worker to fire caption to car salesman. Whatever the root causes, Mr. Thomas’ recent

patterns have shown him to be a danger to the community, and a substantial sentence is

necessary to protect the public.

       Mr. Thomas’ flagrant disregard for the law is embodied not just in his criminal

conduct but in his actions throughout this case. Mr. Thomas did not plead until after he

had dragged out these proceedings for months with dilatory and obstructionist tactics—

including repeatedly delaying hearings and lodging numerous, categorically frivolous

challenges to the Court’s jurisdiction. (See generally summaries in ECF No. 91 at 1-3;
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ECF No. 98 at 3-9; ECF No. 128 at 1-5). This behavior extended far beyond seeking to

vindicate his constitutional rights or put the Government to its burden, as he was fully

entitled to do. He has also made representations about his life and background that do not

appear truthful. (See, e.g., Pretrial Services Status Report at 2-4, ECF No. 111). Although

the Government is advocating that Mr. Thomas receive credit for acceptance of

responsibility under the Guidelines, and be sentenced within the resulting range, he should

not be given further credit in the form of a downward variance.

                                    CONCLUSION

      For the foregoing reasons, the United States respectfully recommends that the Court

impose a total sentence of 180 months.


Dated: October 11, 2022                         Respectfully submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                /s/ Ruth Shnider
                                                BY: RUTH S. SHNIDER
                                                ALEXANDER D. CHIQUOINE
                                                Assistant U.S. Attorneys




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